             Case 16-31928 Document 1671 Filed in TXSB on 11/21/16 Page 1 of 7




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION                                                             ENTERED
                                                                                                                     11/21/2016
    In re:                                                        §        Case No. 16-31928
                                                                  §
    ENERGY XXI LTD, et al.,                                       §        (Chapter 11)
                                                                  §
                                                                  §        Jointly Administered
                         1
              Debtors.                                            §

                 ORDER (A) ADJOURNING THE CONFIRMATION
       HEARING AND EXTENDING RELATED DEADLINES AND (B) EXTENDING
     THE FILING EXCLUSIVITY PERIOD AND SOLICITING EXCLUSIVITY PERIOD

             WHEREAS, on July 15, 2016, this Court entered the Order (A) Approving the

Disclosure Statement and the Form and Manner of Service Related Thereto, (B) Setting Dates

for the Objection Deadline and Hearing Relating to Confirmation of the Plan, and (C) Granting

Related Relief [Docket No. 805] (the “Disclosure Statement Order”) approving the Debtors’

Third Amended Disclosure Statement for the Debtors’ Proposed Joint Chapter 11 Plan of

Reorganization [Docket No. 809] (the “Disclosure Statement”);2 and

             WHEREAS, on October 21, 2016, this Court entered the Amended Order (A) Adjourning

the Confirmation Hearing and Extending Related Deadlines and (B) Extending the Filing




1
             The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
             numbers are: Anglo-Suisse Offshore Pipeline Partners, LLC (9562), Delaware EPL of Texas, LLC (9562),
             Energy Partners Ltd., LLC (9562), Energy XXI GOM, LLC (0027), Energy XXI Gulf Coast, Inc. (8595),
             Energy XXI Holdings, Inc. (1638), Energy XXI, Inc. (2108), Energy XXI Leasehold, LLC (8121), Energy
             XXI Ltd (9286), Energy XXI Natural Gas Holdings, Inc. (7517), Energy XXI Offshore Services, Inc.
             (4711), Energy XXI Onshore, LLC (0308), Energy XXI Pipeline, LLC (5863), Energy XXI Pipeline II,
             LLC (8238), Energy XXI Services, LLC (3999), Energy XXI Texas Onshore, LLC (0294), Energy XXI
             USA, Inc. (8552), EPL of Louisiana, L.L.C. (9562), EPL Oil & Gas, Inc. (9562), EPL Pioneer Houston,
             Inc. (9749), EPL Pipeline, L.L.C. (1048), M21K, LLC (3978), MS Onshore, LLC (8573), Natural Gas
             Acquisition Company I, LLC (0956), Nighthawk, L.L.C. (9562), and Soileau Catering, LLC (2767). The
             location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 1021 Main Street,
             Suite 2626, Houston, Texas 77002.
2
             Capitalized terms used but not otherwise defined herein shall have the meaning set forth in the Disclosure
             Statement or the Previous Scheduling Order (unless otherwise noted).


                                                              1
       Case 16-31928 Document 1671 Filed in TXSB on 11/21/16 Page 2 of 7




Exclusivity Period and Soliciting Exclusivity Period [Docket No. 1563] (the “Previous

Scheduling Order”); and

       WHEREAS, the Debtors have filed (a) their Second Amended Proposed Joint Plan of

Reorganization (the “Plan”), and (b) their Second Supplement to Third Amended Disclosure

Statement (“Second Disclosure Statement Supplement”); and

       WHEREAS, the Debtors, certain noteholders who are members of the ad hoc group of

Second Lien Noteholders, the Creditors’ Committee, certain noteholders who are members of the

ad hoc group of EGC Unsecured Noteholders, and certain noteholders who are members of the

ad hoc group of EPL Unsecured Noteholders have entered into a Plan Support Agreement

(“PSA”) to support the Plan; and

       WHEREAS, the Debtors, certain noteholders who are members of the ad hoc group of

Second Lien Noteholders, the Creditors’ Committee, certain noteholders who are members of the

ad hoc group of EGC Unsecured Noteholders, and certain noteholders who are members of the

ad hoc group of EPL Unsecured Noteholders have agreed to the schedule set forth below, solely

for purposes of a confirmation hearing on the Plan; and

       XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
       WHEREAS, to the Debtors’ knowledge, the Equity Committee agrees to the schedule set

XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
forth below, other than the second sentence of paragraph 4 and the language included in

XXXXXXXXX
paragraph 13;

       WHEREAS, solely for purposes of a confirmation hearing on the Plan, the Court finds

that the schedule set forth below is in the best interests of the Debtors, their estates and creditors,

and any parties in interest; and good and sufficient cause appearing therefor;




                                                  2
       Case 16-31928 Document 1671 Filed in TXSB on 11/21/16 Page 3 of 7




NOW, THEREFORE, HAVING CONSIDERED THE FOREGOING, IT IS HEREBY
ORDERED THAT:

       A.      Extension of Debtors’ Filing Exclusivity Period and Soliciting Exclusivity
               Period

       1.      Pursuant to section 1121(d) of the Bankruptcy Code, the Debtors’ Filing

Exclusivity Period (as defined in the Bridge Order, Docket No. 1013) under section 1121(b) of

the Bankruptcy Code is hereby extended to the earlier of: (i) December 16, 2016 and

(ii) immediately following the conclusion of the Confirmation Hearing.

       2.      Pursuant to section 1121(d) of the Bankruptcy Code, the Debtors’ Soliciting

Exclusivity Period (as defined in the Bridge Order) under section 1121(c)(3) of the Bankruptcy

Code is hereby extended to December 16, 2016.

       3.      The foregoing extension of the Debtors’ Filing Exclusivity Period is without

prejudice to (a) the right of any party to seek to terminate exclusivity, (b) the Debtors’ right to

file additional motions seeking to extend exclusivity and (c) the Debtors’ right to seek to extend

the Soliciting Exclusivity Period.

       B.      Dates and Deadlines Related to the Confirmation Hearing

       4.      Any amended or supplemented expert reports in support of Plan confirmation

shall be filed by November 23, 2016. In addition, by November 23, 2016 the Debtors shall

identify their existing management, compensation for management, and management incentive

plan, and shall describe the rights of input held by other constituents as to the Management

Incentive Plan and the identities and compensation of post-petition management consistent with

section 1129(a)(5) of the Bankruptcy Code to the extent that such terms are not reserved for the

New Board’s determination.




                                                3
        Case 16-31928 Document 1671 Filed in TXSB on 11/21/16 Page 4 of 7




        5.    If Parkman Whaling LLC is to be designated as an expert in connection with the

Confirmation Hearing, any expert reports of Parkman Whaling shall be filed by November 23,

2016.

        6.    Any amended or supplemented expert reports in opposition to Plan confirmation

shall be filed by December 5, 2016.

        7.    Additional depositions, limited to: (a) one deposition of Peter Laurinaitis as expert

witness for the Debtors, (b) two depositions of the Debtors’ corporate representatives, and (c)

one deposition of Scott Johnson as expert witness for the Equity Committee, may be held from

November 25, 2016 to December 8, 2016.

        8.    The deadline for parties in interest to exchange witness and exhibit lists in

connection with the Confirmation Hearing (including hearings on the Miscellaneous Pending

Motions, as defined below, that are being considered as part of the Confirmation Hearing) is

December 9, 2016. Such witness and exhibit lists shall be exchanged in electronic form, and

exchange in paper copy shall not be required.         The Parties shall coordinate to deliver a

consolidated set of such witness and exhibit lists to the Court. Any requirements of the Local

Rules to the contrary are hereby waived.

        9.    The deadline for parties in interest to file objections, if any, to confirmation of the

Plan is extended to December 9, 2016 at 4:00 p.m. (Central Time).

        10.   The deadline for parties in interest to file objections, if any, to the Debtors’

rejection or assumption of executory contracts and unexpired leases, and any cure claims

associated therewith, is extended to November 28, 2016.

        11.   The deadline to vote to accept or reject the Plan is extended to December 5, 2016

at 4:00 p.m. (Central Time).



                                                4
        Case 16-31928 Document 1671 Filed in TXSB on 11/21/16 Page 5 of 7




        12.      The deadline for the Debtors’ Solicitation Agent to file a preliminary voting

report is extended to December 9, 2016 at 4:00 p.m. (Central Time), or as soon as reasonably

practicable thereafter.
                                                                                   with respect to
        13.      The deadline for parties in interest to file memoranda of law XXXXXXXXXX
                                                                               in support of

confirmation of the Plan is extended to December 12, 2016 at 12:00 p.m. (Central Time). Any
party may file a reply prior to the commencement of the confirmation hearing.
        14.      The Confirmation Hearing will commence before the Honorable David R. Jones,

Chief Bankruptcy Judge for the Southern District of Texas, Houston Division at the United

States Courthouse, Room 400, 515 Rusk Street, Houston Texas 77002 on December 13, 2016 at

9:00 a.m. (Central Time) and will continue from day-to-day thereafter on dates that are

convenient for the Court.

        C.       Dates and Deadlines Regarding Adjourned Pleadings

        15.      Without limitation, the following motions and joinders remain pending as of the

date of this order:

                 a. Debtors’ Exclusivity Extension Motion [Docket No. 816];

                 b. Equity Committee’s Joinder [Docket No. 1547] to Creditors’ Committee’s
                    Objection to Second Lien Parties’ Claims [Docket No. 1082];

                 c. Equity Committee’s Limited Objection to Proof of Claims Filed by Delaware
                    Trust, Trustee for EPL Notes [Docket No. 1542] (the “Equity Committee EPL
                    Notes Claim Objection”);

                 d. Equity Committee’s Limited Objection to Proof of Claims Filed by
                    Wilmington Trust, Trustee for EGC Notes [Docket No. 1543] (the “Equity
                    Committee EGC Notes Claim Objection”);

                 e. Equity Committee’s Motion to Compel Production of Records from BDO
                    USA, LLP [Docket No. 1537] (the “BDO Motion”);

                 f. Equity Committee’s Motion to Certify Equity Interest Owners as an Official
                    Class and Approve the Equity Committee’s Claim as a Class Claim [Docket
                    No. 1549] (the “Class Certification Motion”); and




                                                        5
       Case 16-31928 Document 1671 Filed in TXSB on 11/21/16 Page 6 of 7




               g. Equity Committee’s Motion to Temporarily Allow Class Proof of Claim for
                  Voting Purposes [Docket No. 1637] (the “Temporary Allowance Motion”).

The motions and joinders listed in this paragraph 15 are referred to below as the “Miscellaneous

Pending Motions.”3

       16.     The deadline for parties in interest to respond to the Miscellaneous Pending

Motions is extended to November 28, 2016 at 5:00 p.m. (Central Time)—excluding the BDO

Motion, to which responses already have been filed. The Miscellaneous Pending Motions, other

than the BDO Motion and the Temporary Allowance Motion, shall be considered and

adjudicated by the Bankruptcy Court as part of the Confirmation Hearing. The Temporary

Allowance Motion shall be considered and adjudicated by the Bankruptcy Court at a hearing on

December 1, 2016 at 2:30 p.m. (Central Time).

       17.     For the avoidance of doubt, a withdrawal by the Creditors’ Committee of its

Motion to Vacate [Dkt. No. 1236] shall not impact the Equity Committee’s joinder thereto.

       18.     The deadlines set forth in this Order may be amended by the agreement of all

Parties. All Parties reserve the right to seek leave of the Bankruptcy Court to modify any

deadlines.

       19.     This Order is entered in contemplation of a confirmation hearing on the Plan.

Without limiting the reservation of rights in paragraph 18, all parties in interest reserve all

rights—including the right to seek leave to modify deadlines—with respect to any amended plan

that might be filed.

       20.     The Bankruptcy Court retains jurisdiction to hear and determine all matters

arising from or related to implementation, interpretation, or enforcement of this Order.



3
       Terms italicized but not defined in paragraph 15 have the meanings given to them in the Previous
       Scheduling Order.


                                                  6
       Case 16-31928 Document 1671 Filed in TXSB on 11/21/16 Page 7 of 7




Dated: November ___, 2016
           November 21, 2016.
  Signed:Texas
Houston,
                                     ____________________________________
                                    _______________________________________
                                     DAVIDR.
                                    DAVID   R.JONES
                                               JONES
                                     UNITED  STATES  BANKRUPTCY JUDGE
                                    UNITED STATES BANKRUPTCY       JUDGE

US 4774838




                                       7
